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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

                v.                                      Criminal Action No. 2:10cr8

 DOYLE J. LANTZ,
       Defendant.

                      ORDER/OPINION REGARDING PLEA OF GUILTY

        This matter has been referred to the undersigned Magistrate Judge by the District Court for

 purposes of conducting proceedings pursuant to Federal Rule of Criminal Procedure 11. Defendant,

 Doyle J. Lantz, in person and by counsel, Belinda Haynie, appeared before me on September 13,

 2010. The Government appeared by Stephen Warner, its Assistant United States Attorney.

        The Court determined that Defendant was prepared to enter a plea of “Guilty” to Counts

 Nine and Ten of the Indictment. Thereupon, the Court proceeded with the Rule 11 proceeding by

 first placing Defendant under oath. The Court then determined that Defendant’s plea was pursuant

 to a written plea agreement, and asked the Government to tender the original to the Court. The Court

 then asked counsel for the Government to summarize the written Plea Agreement.                 While

 summarizing the agreement, the AUSA noted a typographical error in paragraph stating that

 Defendant could appeal a sentence greater than a level 30. Instead, that provision should have stated

 he could appeal any sentence at a level of 30 or less. The change had been made and initialed by

 Defendant and his counsel, as well as AUSA Warner. Defendant then stated that the agreement as

 summarized by counsel for the Government was correct and complied with his understanding of the

 agreement. The Court ORDERED the written Plea Agreement filed.

        The Court next inquired of Defendant concerning his understanding of his right to have an

 Article III Judge hear the entry of his guilty plea and his understanding of the difference between an

 Article III Judge and a Magistrate Judge.      Defendant thereafter stated in open court that he
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 voluntarily waived his right to have an Article III Judge hear and accept his plea and voluntarily

 consented to the undersigned Magistrate Judge hearing and accepting his plea, and tendered to the

 Court a written Waiver of Article III Judge and Consent To Enter Guilty Plea Before Magistrate

 Judge, which waiver and consent was signed by Defendant and countersigned by Defendant’s

 counsel and was concurred in by the signature of the Assistant United States Attorney appearing.

        Upon consideration of the sworn testimony of Defendant, as well as the representations of

 his counsel and the representations of the Government, the Court finds that the oral and written

 waiver of Article III Judge and consent to enter guilty plea before a Magistrate Judge was freely and

 voluntarily given and the written waiver and consent was freely and voluntarily executed by

 Defendant, Doyle J. Lantz, only after having had his rights fully explained to him and having a full

 understanding of those rights through consultation with his counsel, as well as through questioning

 by the Court. The Court ORDERED the written Waiver and Consent to Enter Guilty Plea before a

 Magistrate Judge filed and made part of the record.

        The undersigned then reviewed with Defendant Counts Nine and Ten of the Indictment,

 including the elements the United States would have to prove at trial, charging him with being an

 unlawful drug user in possession of firearms, and possession of materials used in the manufacture

 of methamphetamine.

        The undersigned then reviewed with Defendant Counts Nine and Ten of the Indictment, the

 statutory penalties applicable to an individual adjudicated guilty of the felony charges contained in

 Counts Nine and Ten of the Indictment, the impact of the sentencing guidelines on sentencing in

 general, and inquired of Defendant as to his competency to proceed with the plea hearing. From said

 review the undersigned Magistrate Judge determined Defendant understood the nature of the charges

 pending against him and understood the possible statutory maximum sentence which could be

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 imposed upon his conviction or adjudication of guilty on the charge in Count Nine was imprisonment

 for a term of not more than ten (10) years; understood that a fine of not more than $250,000.00 could

 be imposed; understood that both fine and imprisonment could be imposed; understood he would be

 subject to a period of not more than three (3) years of supervised release; and understood the Court

 would impose a special mandatory assessment of $100.00 for the felony conviction payable on or

 before the date of sentencing.

            Defendant further understood the possible statutory maximum sentence which could be

 imposed upon his conviction or adjudication of guilty of the charge in Count Ten was imprisonment

 for a term of not more than ten (10) years; understood that a fine of not more than $250,000.00 could

 be imposed; understood that both fine and imprisonment could be imposed; understood he would be

 subject to a period of not more than three (3) years of supervised release; and understood the Court

 would impose a special mandatory assessment of $100.00 for the felony conviction payable on or

 before the date of sentencing.

            He also understood that his sentence could be increased if he had prior state or federal

 firearm offense conviction, violent felony conviction, or prior drug offense conviction. He also

 understood he might be required by the Court to pay the costs of his incarceration and supervised

 release.

            The undersigned also reviewed with Defendant his conditional waiver of appellate rights as

 follows:

 Ct:        Did you and your lawyer discuss that you have a right to appeal any sentence that is imposed

            to the Fourth Circuit Court of Appeals within 14 days following the Judge’s oral

            pronouncement of that sentence?

 Def:       Yes.

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 Ct:    Did you and your lawyer also discuss that you may have the right to collaterally attack or

        challenge the sentence using a writ of habeas corpus-type motion under 28 USC section

        2255?

 Def:   Yes.

 Ct:    Did you understand that under paragraph 15 of your plea agreement if the actual sentence you

        receive is equal to a guideline calculated sentence with a guideline level of 30 or less you

        give up your right to directly appeal and you give up your right to collaterally challenge that

        sentence?

 Def:   Yes.

 Ct:    Counsel, paragraph 15 is a combined sentence waiver, in other words, it applies in the

        aggregate to both counts, is that correct?

 AUSA: That is correct.

 Ct:    Is that also your understanding counsel?

 Ms. Haynie: It is, your honor.

 Ct:    Very good, I just wanted to make that clear, since it wasn’t specifically spelled out. Did you

        intend to give up your direct appeal rights and your collateral attack rights as outlined in your

        plea agreement?

 Def:   Yes, sir.

        From the foregoing colloquy the undersigned determined that Defendant understood his

 appellate rights and knowingly gave up those rights pursuant to the written plea bargain agreement.

        The undersigned Magistrate Judge further examined Defendant relative to his knowledgeable

 and voluntary execution of the written plea bargain agreement dated August 26, 2010, and signed

 by him on August 27, 2010, and determined the entry into said written plea bargain agreement was

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 both knowledgeable and voluntary on the part of Defendant. The undersigned then inquired of

 Defendant regarding his understanding of the written plea agreement.            Defendant stated he

 understood the terms of the written plea agreement and also stated that it contained the whole of his

 agreement with the Government and no promises or representations were made to him by the

 Government other than those terms contained in the written plea agreement.

        The undersigned Magistrate Judge further inquired of Defendant, his counsel, and the

 Government as to the non-binding recommendations and stipulation contained in the written plea

 bargain agreement and determined that Defendant understood, with respect to the plea bargain

 agreement and to Defendant’s entry of a plea of guilty to the felony charges contained in Counts Nine

 and Ten of the Indictment, the undersigned Magistrate Judge would write the subject Order and

 would further order a pre-sentence investigation report be prepared by the probation officer attending

 the District Court. The undersigned advised the Defendant that the District Judge would adjudicate

 the Defendant guilty of the felonies charged under Counts Nine and Ten of the Indictment. Only

 after the District Court had an opportunity to review the pre-sentence investigation report, would

 the District Court make a determination as to whether to accept or reject any recommendation

 contained within the plea agreement or pre-sentence report. The undersigned reiterated to the

 Defendant that the District Judge may not agree with the recommendations or stipulation contained

 in the written agreement. The undersigned Magistrate Judge further advised Defendant, in accord

 with Federal Rule of Criminal Procedure 11, that in the event the District Court Judge refused to

 follow the non-binding recommendations or stipulation contained in the written plea agreement

 and/or sentenced him to a sentence which was different from that which he expected, he would not

 be have the right to withdraw his guilty plea. Defendant and his counsel each acknowledged their

 understanding and Defendant maintained his desire to have his plea of guilty accepted.

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        Defendant also understood that his actual sentence could not be calculated until after a pre-

 sentence report was prepared and a sentencing hearing conducted. The undersigned also advised,

 and Defendant stated that he understood, that the Sentencing Guidelines are no longer mandatory,

 and that, even if the District Judge did not follow the Sentencing Guidelines or sentenced him to a

 higher sentence than he expected, he would not have a right to withdraw his guilty plea.. Defendant

 further understood there was no parole in the federal system, although he may be able to earn

 institutional good time, and that good time was not controlled by the Court, but by the Federal

 Bureau of Prisons.

        The Court then heard the testimony of Upshur County Deputy Sheriff Troy Brady, who

 testified he was involved in the investigation of Defendant. On May 27, 2010, officers executed a

 search warrant at Defendant’s residence, finding ephedrine, guns, Draino, spent shell casings, blister

 packs of sudafed in the stove, and a smoking jug. The smoking jug had Draino and salt inside.

 Deputy Brady testified he was familiar with the products as being used in the manufacture of

 methamphetamine. The drain cleaner was the same as that purchased by co-defendant Danielle

 Bennett at WalMart that same day, as indicated by a tag on the back of the bottle, which matched one

 sold by WalMart. WalMart provided a video showing Bennett purchasing the drain cleaner. Photos

 of Defendant’s residence showed Defendant holding the smoking jug. He was with Danielle Bennett,

 who just pleaded guilty to count ten of the same indictment, as well as co-defendants Floyd Edwards

 and Tammy Bice. Tammy Bice was interviewed and said that Defendant cooked methamphetamine.

 He also interviewed Defendant, who said he used methamphetamine, although he may have said he

 was trying to quit.

        Deputy Brady also testified that pursuant to the search the 8 guns identified in the forfeiture

 count of the indictment were found in Defendant’s residence.



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           The Court took note that none of the firearms identified in the indictment were manufactured

 in West Virginia.

           Defendant stated he heard, understood, and agreed with Deputy Brady’s testimony.

 Thereupon, Defendant, Doyle J. Lantz, with the consent of his counsel, Belinda Haynie, proceeded

 to enter a verbal plea of GUILTY to the felony charges contained in Counts Nine and Ten of the

 Indictment.

           The undersigned United States Magistrate Judge concludes the offenses charged in Counts

 Nine and Ten of the Indictment are supported by an independent basis in fact concerning each of the

 essential elements of each offense. That independent basis is provided by the testimony of Deputy

 Brady.

           Upon consideration of all of the above, the undersigned Magistrate Judge finds that

 Defendant is fully competent and capable of entering an informed plea; Defendant is aware of and

 understood his right to have an Article III Judge hear and accept his plea and elected to voluntarily

 consent to the undersigned United States Magistrate Judge hearing and accepting his plea; Defendant

 understood the charges against him, not only as to the Indictment as a whole, but in particular as to

 Counts Nine and Ten of the Indictment; Defendant understood the consequences of his plea of guilty,

 in particular the maximum statutory penalty to which he would be exposed; Defendant made a

 knowing and voluntary plea of guilty to Counts Nine and Ten of the Indictment; and Defendant’s

 plea is independently supported by the testimony of Deputy Brady, which provides, beyond a

 reasonable doubt, proof of each of the essential elements of the charges to which Defendant has pled

 guilty.




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        The undersigned Magistrate Judge therefore ACCEPTS Defendant’s plea of guilty to the

 felony charges contained Counts Nine and Ten of the Indictment and recommends he be adjudged

 guilty on said charges as contained in Counts Nine and Ten of the Indictment and have sentence

 imposed accordingly.

        The undersigned further directs that a pre-sentence investigation report be prepared by the

 adult probation officer assigned to this case.

        At the conclusion of the plea hearing, Defendant moved to be released to Bannum House

 pending sentencing. The Court adjourned the hearing until the next day, September 14, in order that

 the Pretrial Services Officer could determine whether there was a bed available at Bannum House.

 On September 14, 2010, the Court reconvened the hearing, with Defendant, his counsel, and AUSA

 Warner appearing. The Court advised the parties that, having pled guilty, Defendant would need to

 show the Court by clear and convincing evidence that he was not a flight risk or a danger to the

 community. The Court heard the testimony of Defendant, under oath.

        Upon consideration of all which, and for reasons apparent on the record, the Court finds

 Defendant has not met his burden under 3143(a) of providing clear and convincing evidence that he

 would not be a danger to the community if released. Defendant’s motion for release to Bannum

 House pending sentencing is therefore DENIED.

        Defendant is remanded to the custody of the United States Marshal pending further

 proceedings in this matter.

        The Clerk of the Court is directed to send a copy of this Order to counsel of record.

 DATED: September 16, 2010.
                                                      John S. Kaull
                                                      JOHN S. KAULL
                                                      UNITED STATES MAGISTRATE JUDGE

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